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 8                             UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
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11   ANDREW MCKEVITS,                                Case No.: 19cv540-W-MDD
12                                      Plaintiff,
                                                     SCHEDULING ORDER
13   v.                                              REGULATING PRE-TRIAL
                                                     PROCEEDINGS
14   CAPITAL ALLIANCE GROUP, et al.,
15                                   Defendants.
16
17         A Telephonic Case Management Conference was held on October 1, 2019. After
18   consulting with the attorneys of record for the parties and being advised of the status of
19   the case, and good cause appearing, IT IS HEREBY ORDERED:
20         1.     All pretrial motions must be filed by November 15, 2019. Counsel for the
21   moving party must obtain a motion hearing date from the law clerk of the judge who will
22   hear the motion. The period of time between the date you request a motion date and the
23   hearing date may vary from one district judge to another. Please plan accordingly.
24   Failure to make a timely request for a motion date may result in the motion not being
25   heard. Motions in limine are to be filed as directed in the Local Rules, or as otherwise set
26   by the district judge.
27         2.     A Mandatory Settlement Conference shall be conducted on December 11,
28   2019 at 9:30 a.m. in the chambers of Magistrate Judge Mitchell D. Dembin. Counsel

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 1   or any party representing himself or herself shall lodge confidential settlement briefs
 2   directly to chambers by December 4, 2019. All parties are ordered to read and to fully
 3   comply with the Chamber Rules of the assigned magistrate judge.
 4         3.     Pursuant to Civil Local Rule 7.1(f)(3)(c), if an opposing party fails to file
 5   opposition papers in the time and manner required by Civil Local Rule 7.1(e)(2), that
 6   failure may constitute a consent to the granting of a motion or other request for ruling by
 7   the court. Accordingly, all parties are ordered to abide by the terms of Local Rule
 8   7.1(e)(2) or otherwise face the prospect of any pretrial motion being granted as an
 9   unopposed motion pursuant to Civil Local Rule 7.1(f)(3)(c). Should either party choose
10   to file or oppose a motion for summary judgment or partial summary judgment, no
11   Separate Statement of Disputed or Undisputed Facts is required.
12         4.     Despite the requirements of Civil Local Rule 16.1(f)(2), neither party is
13   required to file a Memorandum of Contentions of Fact and Law at any time. The parties
14   shall instead focus their efforts on drafting and submitting a proposed pretrial order by
15   the time and date specified by Civil Local Rule 16.1(f)(6)(b). The proposed pretrial order
16   shall comply with Civil Local Rule 16.1(f)(6) and the Standing Order in Civil Cases
17   issued by the assigned district judge.
18         5.     Counsel shall comply with the pre-trial disclosure requirements of Fed. R.
19   Civ. P. 26(a)(3) by January 6, 2020. Failure to comply with these disclosure
20   requirements could result in evidence preclusion or other sanctions under Fed. R. Civ. P.
21   37.
22         6.     Counsel shall meet and take the action required by Local Rule 16.1(f)(4) by
23   January 13, 2020. At this meeting, counsel shall discuss and attempt to enter into
24   stipulations and agreements resulting in simplification of the triable issues. Counsel shall
25   exchange copies and/or display all exhibits other than those to be used for impeachment.
26   The exhibits shall be prepared in accordance with Local Rule 16.1(f)(4)(c). Counsel shall
27   note any objections they have to any other parties’ Pretrial Disclosures under Fed. R. Civ.
28   P. 26(a)(3). Counsel shall cooperate in the preparation of the proposed pretrial

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 1   conference order.
 2         7.     Counsel for plaintiff will be responsible for preparing the pretrial order and
 3   arranging the meetings of counsel pursuant to Civil Local Rule 16.1(f). By January 20,
 4   2020, plaintiff’s counsel must provide opposing counsel with the proposed pretrial order
 5   for review and approval. Opposing counsel must communicate promptly with plaintiff’s
 6   attorney concerning any objections to form or content of the pretrial order, and both
 7   parties shall attempt promptly to resolve their differences, if any, concerning the order.
 8         8.     The Proposed Final Pretrial Conference Order, including objections to any
 9   other parties’ Fed. R. Civ. P. 26(a)(3) Pretrial Disclosures shall be prepared, served and
10   lodged with the assigned district judge by January 27, 2020, and shall be in the form
11   prescribed in and comply with Local Rule 16.1(f)(6).
12         9.     In addition to submitting the proposed final pretrial conference order, the
13   parties are further ordered to separately submit informal letter briefs, not exceeding two
14   single spaced pages, served on opposing counsel and received in the chambers of Judge
15   Thomas J. Whelan, United States District Judge (and not filed with the Clerk’s Office) by
16   2:30 p.m. on February 5, 2020.
17         The letter brief should be a relatively informal and straightforward document. The
18   letter brief should outline a short, concise and objective factual summary of the party’s
19   case in chief, the number of hours/days each party intends to expend at trial, the
20   approximate number of witnesses, whether certain witnesses will be coming in from out
21   of town, the number of testifying expert witnesses, whether any unique demonstrative
22   exhibits may be presented, the number of proposed motions in limine that may be filed,
23   precisely when the parties would be prepared to submit their in limine papers (and
24   whether the parties have met and conferred with respect to in limine issues), the issue of
25   proposed jury instructions and when the parties intend to submit them before trial, and
26   voir dire issues, either party’s preference as to what date(s) the trial should begin and any
27   other pertinent information that either party may deem useful to assist the Court in the
28   execution of the pretrial conference and in setting the matter for trial.

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 1         10.    The final Pretrial Conference is scheduled on the calendar of the Honorable
 2   Thomas J. Whelan on February 10, 2020 at 10:30 a.m.
 3         11.    The parties must review the chambers’ rules for the assigned district judge
 4   and magistrate judge.
 5         12.    A post trial settlement conference before a magistrate judge may be held
 6   within 30 days of verdict in the case.
 7         13.    The dates and times set forth herein will not be modified except for good
 8   cause shown.
 9         14.    Briefs or memoranda in support of or in opposition to any pending motion
10   shall not exceed twenty-five (25) pages in length without leave of a district court judge.
11   No reply memorandum shall exceed ten (10) pages without leave of a district court judge.
12   Briefs and memoranda exceeding ten (10) pages in length shall have a table of contents
13   and a table of authorities cited.
14         15.    Plaintiff’s counsel shall serve a copy of this order on all parties that enter
15   this case hereafter.
16         IT IS SO ORDERED.
17   Dated: October 1, 2019
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